        Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 1 of 14


                                                                               'IK

Heriberto Garcia-Rodriguez
Reg. No. 07859-091
United States Penitentiary
                                                                                             /IHIO; 12
US? LEE
P.O. Box 305                                                                             .'0 .

Jonesville, VA 24263


                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF WYOMING




HERIBERTO GARCIA-RODRIGUEZ,                       Case Number: 03-CR-61-S

               Petitioner-Defendant(s),           MOTION FOR RECONSIDERATION:
                                                  DENIAL OF PETITIONER GARCIA'S
       vs.
                                                  MOTION FOR COMPASSIONATE
UNITED STATES OF AMERICA                          RELEASE AND REQUEST FOR
                                                  APPOINTMENT OF COUNSEL
               Plaintiff(s).




       COMES NOW, the Petitioner, and respectfully submits this Motion for Reconsideration

of this honorable Court's April 8, 2022, Order denying Defendant's Motion for Compassionate

Release and Request for Appointment of Counsel.

       In his motion. Petitioner Garcia sought to request release or reduction in sentence based

on several issues, in example, length of time already served. Dependent Family Member,

Rehabilitation, had he been sentenced today he would not be sentenced to life sentence: COVID-

19 risk. Moreover. Petitioner Garcia also requested to be released based on ''a dependent family

member" and that he intended to supplement his motion. No supplement was submitted primarily

based on the mail hindrances, delay or no mail at all at the institution or facility, and Petitioner

Garcia's belief that the Honorable Court, like in many cases, would appoint counsel from the

Public Defender's Office to assist pro se Petitioner in gathering and obtaining documents,

information, and properly briefing his arguments for a Supplement. By the time Petitioner Garcia

attempted to respond it was too late.
             Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 2 of 14




 1

 2    I.    Defendant Garcia's extraordinary and compelling reason because if sentenced today
            for the same crime and with the same criminal history, he would not be subject to a
 3          mandatory life sentence
 4          Petitioner Garcia submits that in United States v. Price. 496 F. Supp. 3d 83 (D.D.C
 5   2020), the Court held that, where Congress has not made a reduction in mandatory-sentencing
 6   minimums retroactive, courts may detennine that this constitutes an "extraordinary and
 7   compelling reason" to grant compassionate release to affected defendants, even in the absence of
 8   serious health issues. Id

 9           Also. Petitioner Garcia submits that in United States v. Price. Congress has now
10   recognized that the sentencing scheme in place in 2008 was, in this Court's words,"draconian,"

11   such that today a defendant similarly-situated to Mr. Price would face only a 15-year mandatory
     minimum.{See Supp. Mot. at 1-2 (explaining why due to amendments to the drug sentencing
12
     laws, the 1988 conviction would no longer count and the mandatory minimum sentence for one
13
     prior drug conviction is now 15 years).) But those changes to the law have not been made
14
     retroactive. Nonetheless, this situation, as a number of courts have recognized, can present an
15   extraordinary and compelling reason to reduce a defendant's sentence, even in the absence of
16   serious health issues. See, e.g. , United States v. Arey, 461 F.Supp.3d 343. 350(W.D. Va. 2020)

17   ("The fact that if(the defendant] were sentenced today for the same conduct he would
     likely receive a dramatically lower sentence than the one he is currently serving constituted
18
     an 'extraordinary and compelling' reason justifying potential sentence reduction
19
     under ^ 3582 {cK DfA)."); United States v. Day , No. 1 ;05-cr-460, 474 F.Siipp.Sd 790. 806-07.
20
     (E.D. Va..July 23, 2020)(finding extraordinary and compelling reasons where "were Defendant
21
     sentenced today, his sentence with respect to Count 1 would be dramatically different. Instead of
22   a mandatoiy' Life sentence (predicated on two qualifying § 851 offenses), Defendant would today

23   face a mandatory minimum sentence of 15 years (predicated on a single qualifying

24
     § 851 offense), with a substantially lower than Life Guidelines sentence."); see alsoUnitedStates
     V. Qiiinn .467 F.Supp.3d at 829("enormous sentencing dispaiity created by subsequent changes
25
     to federal sentencing law ... constitutes an 'extraordinary and compelling reason' for ...
26
     compassionate release"); Bellamy v. United States. No. 2:03-cr-197, 474 F.Supp.3d 777. 785-
27
     86.(E.D. Va. July 22, 2020)(considering "the disparity between individuals sentenced before
28
             Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 3 of 14




 1   and after the passage of the FIRST STEP Act"); Uniled States v. Urkevich , No. 8:03-cr-

 2   37, 2019 WL 6037391. at *8(D. Neb. Nov. 14, 2019)("A reduction ... is warranted by
     extraordinary and compelling reasons, specifically the injustice of facing a term of incarceration
 3
     forty years longer than Congress now deems warranted for the crimes committed."); United
 4
     States v.Mauman , No. 2:08-cr-0758, 2020 WL 806121, at *7(D. Utah Feb. 18, 2020)("[T]he
 5
     changes in how § 924(c) sentences are calculated is a compelling and extraordinary reason to
 6
     provide relief on the facts present here."). Id.
 7
        Petitioner Garcia submits that risk is imminent:
 8
            The COVID-19 BA.2 subvariant will soon be the dominant strain of COVID in America:
 9

                    Two weeks ago, BA.2 comprised an estimated 35% of analyzed samples
10
                    nationwide; it made up 22% the previous week. BA.2 made up 41% of
                    coronavirus samples last week on the west coast, up from 28% the week before.
11
                    And for the first time, BA.2 is estimated to be the dominant subvariant in the
                    Northeast, making up more than half the analyzed coronavirus cases in New
12
                    York, New Jersey and New England. BOP inmate COVID numbers bottomed out
                    at 99 last Monday, then climbed steadily to 149 last Friday. Staff cases dropped
13                  from 243 to 137. BA.2 is believed to be 30% to 60% more contagious than the
                    earlier omicron subvariant. BA.2, however, doesn't appear to result in moi"e
14                  severe illness than BA.l. The BOP says 70.9% of staff and 80.7% of inmates
                    have gotten the basic vaccine, but it does not indicate the number of boosters
15                  given. Last week, the BOP announced two more inmate COVID deaths, one at
                    Coleman Medium and the other at FMC Butner. Both occurred in February. One
16                  of the two had previously recovered from COVID. In the last 12 months, 56% of
                    BOP inmates dying of COVID had previously caught the virus but had milder
17                  symptoms. At least 308 federal inmates in the BOP and private prisons have died
                    of COVID in the two years since April 2020. In the prior 19 years, an average of
18                  42 federal inmates a year died in custody. Over the past two years, the number
                    from COVID alone averaged 154.
19
     LA. Times, Omicron subvariant BA.2 spreading rapidly in LA. and across the nation (Mar 25).
20

21

22          The appointment of Counsel would have assisted indigent Defendant Garcia in obtaining

23   the documentation, additional facts, and evidence to explain how he would work in the orchards

24   while at the same time providing care to his mother during the day when his sisters are at work.

25

26

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              Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 4 of 14




 1   A.       Petitioner Garcia's Extraordinary and Compelling Reasons

 2            Furthermore, the combination of issues Petitioner Garcia has presented amount to
     extraordinary and compelling reasons for sentence reduction or immediate release. District courts
 3
     holding that the COVID-19 pandemic constitutes an extraordinary and compelling reason for
 4
     release are legion. E.g., United States v. Tillman, No. 12-cr-2024, 2020 WL 3578374, at *5
 5
     (N.D. Iowa June 30, 2020); United States v. Schneider, No. 14-CR-30036, 2020 WL 2556354, at
 6
     *1 (C.D. 111. May 20, 2020). It necessarily follows that COVID-19 presents a still-greater
 7   extraordinary and compelling reason for release when a defendant's prison is battling a bona fide

 8   outbreak. United States v. McLin, No. 1:17-CR-110-LG-RHW,2020 WL 3803919, at *3(S.D.

 9
     Miss. July 7, 2020)(finding that "the threat posed by COVID 19 at FCI Forrest City Low, in
     conjunction with McLin's medical vulnerability, weigh[ed] in favor of his release" but ultimately
10
     concluding the § 3553(a) factors barred release); United States v. McCall,465 F. Supp. 3d. 1201,
11
     1209(M.D. Ala. 2020)(finding "the overwhelming number of COVID-19 cases," in
12
     combination with other factors, constituted extraordinary and compelling reasons for release).
13   This is particularly so when an inmate has preexisting health conditions that increase the
14   likelihood of COVID-19 complications. As outlined below, Mr. Garcia has several prescriptions
     for his medical conditions that increase his risk of severe illness should he contract the virus.
15
     People with Certain Medical Conditions, Ctrs. for Disease Control & Prevention (Jan. 26, 2021),
16
     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html.
17
     The risk posed to Mr. Garcia's by the COVID-19 pandemic create extraordinary and compelling
18
     reason for his release. See, Ledezma-Rodriguez. — F.Supp.3d — (2020)(United States District
19   Court, S.D. Iowa, Case No. 3:00-CR-00071, Signed 07/14/2020); United States v. Hector Luis
20   Rios, No. 3:94-cr-l 12(JBA)(D. Conn., Dec. 8, 2020); United States v. Hector Lopez. Cr. No.

21   97-01117 ACK-2(D. Haw. Oct. 27, 2020); United States v. Diego Rodriguez, No. OO-cr-761-2
     (JSR)(S.D.N.Y., Sept. 30, 2020); United States v. Sergio Santamaria, Case No. 4:04-cr-00199-
22
     RP-RAW (S. D.Iowa, 2-01-2021): United States v. Jesus Manzo. Case No. 2:07-cr-02042-WFN
23
     (E. D. Wa. 7-29-2021); United States v. Luis Cano. l:95-cr-00481-CMA (S. D. Fla.. 12-17-
24
     2020).
25            Defendant Garcia's pre-First Step Act mandatory life sentence imposed under §
26   841(b)(1)(A) is not the only basis for a sentence reduction under § 3582(c)(i)(A)(i). It is the

27

28
             Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 5 of 14




 1   combination of such a sentence and a defendant's unique circumstances that constitute
 2   "extraordinary and compelling reasons" for purposes of § 3582(c)(l)(A)(i).
            Petitioner Garcia submits that his prior convictions do not qualify today, and cannot serve
 3
     as a basis to uphold a mandatory life sentence. In fact, the government admits it is debatable
 4
     whether his 2000 heroin conviction would count, his statutory minimum would have been only
 5
     25 years, not life. And if only his first 1992 conviction counted. Defendant Garcia would be
6
     looking at minimum of only 15 years imprisonment.
 7

 8   B.     Petitioner Garcia submits cases with Little to No Medical Condition

            However, Petitioner Garcia submits a few cases with no medical condition
 9
     United States v. Chestnut. 6:09-cr-06071-DGL-MWP, Dkt. 923,925 (W.D.N.Y. April 29, 2020) ^
10
               •   waiving cxhausiion requirement and granting release to innuuc witli no medical conditions
11
     United States v. Sturdivant, 2020 WL 6875047. at *1 (D. Conn. Nov. 23. 2020)                                                   ^
12
               •   .Mlenwood Medium
               •   '"No particular health condition that puts him at higher risk of serious illness"
13             •   Not just for sick people - numerous courts have held that, during the COVlD-19 pandemic, the impending
                   end ofan inmate s sentence helps constitute an "extraordinary and compelling" reason to grant an inmate's
14                 motion for compassionate release.
                             • follcciing ca.scs
15             •   Sturdivant is 35 > ears old and generally healthy
               •   Release in less ilian 7 months
16
     United States v. Wooten. 2020 WL 6119321, at *1 (D. Conn. Oct. 16, 2020)
17
               •   PCI McKcan

               •   .Argues based on COVID and incapacitation of sister and aging moilicr's inability to care for her
18
               •   in addition, some couns have held that a defendant's role as the oaly available carcgiver for an incapaeiiatcd
                   close famih mcmhcr can contribute to "extraordinary and compeliing rea.sons" watraniing ihai dclendani'.s
19                 release. Many courts -relying on a naiTow construction of U.S.S.Cj. ij IBl.13 emi. n.l(C)(ii)- —have held
                   that "exlraordinaiy and compelling reasons" exist only when a defendant is the only available carcgiver for
20                 an incapacitated "spou.se or registered partner." See. e.g.. ('niiedSuiics v. llinner. 202(J WL 127711. at *3
                   (S.D. Ohio Jan. 10. 2020). However,some courts liave held not held so narrowly and have found that
21                 "exlraordinaiy and compelling reasons" may exist when a dd'eialarit is the only available carcgiver of
                   incapacitated close faniily member< other ihan spouses and registered partners—parlieuiarly, parents.
                            • Sister ha,s cerebral [lalsy and is in wheelchair, mom is 69 \ears old
22
               •   Renewed motion
               •   Although Wooten docs not claim that he suffers from any panieulai mctiical issue that makes him more
23
                   susceptible to serious illness slumld he contract C0VII)-I9. Wooten still relie.s in part on the genera! lanii
                   cxiraordinaty)lineal thai COVID-19 poses in prisons
24
               •   Notes it wanted to to below mandatorv minimum at senicneintt

25   United States v. Cruz, 2020 WL 3265390, at *1 (D. Or. June 17, 2020)
26             •   PCI l.pmpoc. 5 months left on sentence
               •   Tested positive for COVID-19 then released from i.soliilion alter I i days without symptoms
27             •   To date, the BO!' has not set a dale for Cruz's release to community corrections, despite his eligibility and
                   my letter recommending he receive the maximum time in coinmur iiy corrcciion.s
28                                                              5
            Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 6 of 14




 1             •   Apparently, the conditions at f'CI l.onipoc have rendered it unable to perform basic and statiitorily mandated
                   administrative lunciions

 2             •   Combination of medical risk, etc plus rccomtnendalion for mo.st time in community conllnemcni

 3   United States v. Calabrese, 2020 WL 3316139, at *2(D. Mass. June 18, 2020)
                                                                                                                                         I
               •   55 years old and. other than his age. has not pointed to any specific medical conditions that place him at a
 4                 higher risk.
               •   While llie situation at l-"MC l.exinglon has improved over the last month. 1 cannot say that based on the
 5                 current number of positive cases and the deaths which have occurred that continued incarceration does not
                   place an individual like Mr. Calabrese at risk of exposure to the virus.
 6             •   FMC Lexington


 7   United States v. Rich. 2020 WL 2949365, at *2(D.N.H. June 3, 2020)
                                                                                                                                         I
               •   I lad "historv' of chronic bronchitis and other rcspiratoiy illnesses puts him at substantial risk (»! experiencing
 8                 severe illness should he contract COVID-19. He further contends that he has an increased risk of becoming
                   infected with the virus because inmates and staff members at FMC Devens have tested positive"
 9             •   History as cigarette smoker, smoking, makes him immunocompromised
               •   "The court aeknowledgcs that defendant's inorc recent medical records from his current incarceration do not
10                 rctlect any ongoing respiratoiy issues"
               •   "The governtncnt argues that the court should not l1nd defendant particularly vulnerable to C()V!D-I9
11                 because he does not have a documented diagnosis for "chronic bronchitis." Ciivcn the noveltv of the
                   coronavirus and the medical community's evolving knowledge about who is high risk, the court is not
                   inclined to read defendant's medical records as narrowly tis the government urges. .Although defendant's
12
                   doctor did not u.se the phrase "chronic bronchiii.s" to describe defendant's condition, the doctor described
                   defendant as "prone to bronchitis" with "a hisioiy of reactive airway disease."' That is close enough to
13                 "chronic bronchitis" for the court. Moreover, dcfctidani tiot only has a hi.stoiy- of bronchitis, he also has a
                   history as a hcavv smoker. Those two issues place him in a high-risk categoiy."
14
     United States v. McClellan. 2020 WL 2933588 fN.D. Ohio June 5, 2020)                                                                ^
15
               •   Release date May 2022. 12 months of home confinement. i'MC Rochester
               •   58 years old. hypertension and high blood pressure
16
               •   A grow ing list of federal courts have concluded that the public health crisis p-cserited by the Covid-19
                   pandemic in conjunction with a defendant's pre-existing health condition establishes an extraordinary and
17                 compelling reason for compassionate release.
              •    "Defendant does not otTer evidence thai he has a medical condition of the type and gravity insiitTicicmly
18                 addressed by the iiOP. However, the Court llnds that the perils presented by the Covid-!9 pandemic are one
                   factor among several which warrant the sentence reduction."
19
     United States v. Grimm,2020 WL 2789886. at *5(D. Nev. May 29. 2020)                                                                 ^
20
               •   Under these circumstances, the court is inclined to relea.sc defendant. However, this conclusion is predicated
                   on an uncertain premise: wlielher defendant does, in fact, have lupus. In her initial motion, defendant
21                 suggested she may have lupus only in passing.
               •   It was only in her reply brief that dcferidant expanded on this putative diagnosis. t.S'ec KCF No. 785). And
22                 defendant has neither been t'onnally diagnosed w iili lupus nor did she present evidence of lupus beyond what
                   is consistent w ith her oilier conditions.
23             •   However, the couii is unable to rule on the instant motion until .'Icfcndanl has a defiiiiii\c diagnosis. Thus, the
                   court will hold defendant's motion In abeyance and to give the BOP an opportunity to ha\e defendant
24                 brought before a medical professional for the purpose of definitively determining wiiether she has lupus, If
                   she has lupus, the BOP should determine whether it ean provide defendant with chloroi|nine or
                   hydroxychloroquine wliile inearccraled.
25
               •   Released. United States v. (irimni. 2(120 WI..304.^435. at *! (I). Nev. July 6. 2020

26
     United States v. Kelly, 2020 WL 2104241 (S.D. Miss.. May 1. 2020)                                                                   ^
27            •    waiving exhaustion and granting release to Oakdalc I inmate

28                                                               6
                  Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 7 of 14




 1                      •   "Despite his youth and lack ofhcakh issues"

 2   United States v. Mel. 2020 WL 2041674. at *2(D. Md. Apr. 28. 2020)
                                                                                                                                             I
                        •   Although the presence of the historic C0VlD-i9 pandemic in prisons arguably could alone establish
 3                          exiraordinar> and compelling reasons, Mel has been incarcerated at FCI-Danbury. one of the hardest hit
                            federal prisons.
 4                      •   Thyroid mass, not yet malignant but unknown,"the Court cannot conclude with certainty that Mel has a high-
                            risk health condition, particularly where she has not undergone any cancer treatment. Si'c Groups ai Higher
 5                          Riskfor Severe Illness. Ctrs. for Disease Control and Frcvcniion. htlps://www.cdc.gov7coronavirus/2019-
                            ncov/nccd-c\tra-precautions/groups-at-highcr-risk.html. [a.st visited Apr. 26. 2020 (identifying cancer
                            treatment, not cancer itselt", as a high-risk condition).
 6
                        •   Nevertheless, the Court finds that the historic COVID-19 pandemic, the fact that Mcl has been incarcerated in
                            one of the federal prisons most profoundly impacted by COVID-19. and the fact that as a result of the
 7
                            outbreak, she has effectively been prevented from receiving necessary medical care for a potentially life-
                            threatening condition."
 8                      •   "The fact that Mel has been incarcerated at TCI-Danbury during a serious outhreak orCC)VlD-i9 inside the
                            facility sufficient ly increased the severity of the sentence beyond what was originally anticipated that the
 9                          purposes of sentencing are fully met even with the two-week reduction."
                        •   Scheduled release May 22, 2020. must be qtiarantined for 2 weeks
10
     United States v. Le, 1:19-cr-10199, Dkt. 99(D. Mass. May 6, 2020)
11
                        •   Releasing prelrial defendant in drug trafficking case in light of COVID-19 even though he lacks "physical
                            conditions that put him at high risk" from COVID-19 because'|tlhc reduction in the prison population in and
12                          of itself is important to comballing the virus

13   Matter of Extradition of Kubicki, 20-M.1-00034-STV, Okt.}9(D. Co. May 5. 2020)
14                      •   Granting release in pending extradition matter where relatur had argued, in part, that the C()VID-I9
                            paiideniie was a "special circumstance" warranting release but had not araued an Individual susceptibility to
                            C,'GVID-19 complications
15
     Unildd States v. Mason, lO-cr-625.(DE 61)(D. Md. May 5, 2020)
16
                        •   Releasing supei-visec w ith "extensive and serious criminal hi.story" front custody because COVID-19 is "so
17                          eontagious" making it "imperative that D.C. Jail <uid CM" take all reasonable steps to prevent its spread
                            within ihejail.s" and recognizing the importance of reducing jail populations during the C0VID-i9
                            pandemic):
18

19
     United States v. Cordova. 4;19-cr-40025-TSH,(DE 133)(D. Mass. May 1. 2020)                                                         . ^
                        •   Granting pretrial release to a 36 year old defendant,(.vce DE 120: 2). who was alleged to be a career offender
20                          facing a ten year matidatory minirnum sentence


2!

22   C.         Short Time Served

23   Cases where offender has not yet reported to BOP custody:

24
     United Slates v. Novak. 1:l9-cr-00475. Doc. 67(N.D. 111. Jan. 5. 2022)
25   United States v. Hussain, 2020 WL 5910065. at *3(N.D. Cal. Oct. 6. 2020)
     United States v. Maxwell. 2020 m.,4776012, at *4(S.D. Ohio Oct. 13. 2021)
26   United States v. Hambrok, 520 F.Supp.Sd 827, 830(E.D. Va. 2021).
     I. niiv.i Slates   Cook, 2022 Wl. I I8I85. a'. *2 (N.D. Ohio .'an, 12, 2023)
27
     Cuiu'.ISiotcsv. liuiler. i:14-cr-0()445-2. Doc. 188(N.D. ill. Apr. 6. 2020)
28                                                                       7
             Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 8 of 14




 1             •   Medical conditions worsened atkr sentencing
               •   Govemmeni took no position, defendant sent request to designated facility's wartlen and .>0 days elapsed
 2
     United States v. Konopka, 1 ;17-cr-00616. ECF 117(N.D. 111. Sep. 10, 2020)
                                                                                                                                        I
 3
                             •     Granting reduction in sentence where, alter 6-rnonlli setUence was imposed, defendant
                                   received a new and serious diagnosis and in light ofglobal pandemic
 4
     United States v. Nazario-iVIontijo, 3:17-cr-00278-JAG, ECF 273(D.P.R. Sep. 17, 2020)
 5
               •   .Sentenced to 24 months in February under binding pica agiecnienl. surrender date was postponed three times
 6                 before court amended judgment to require no time
               •   Client suffers from obesity and mental health conditions that could be e.xacerbated by BOP infection
                   mitigation measures):
 7

 8
     D.     Cases where offender had only served short amount of time:
 9
     United States v. Morgan. 2020 WL 6393007, at *1 (N.D. 111. Nov. 2. 2020)
                                                                                                                                        I
10             •   FCd Terre I laute
               •   120 months ba,sed on 924(c)charge, reported in .lanuary 2020. served 10 months: mandatory rniniimim on
n                  botli. selling drugs and firearm, role was as a sitter for stash house
               •   fype 2 diabetes, hypertension, sleep apnca. obesity
12             •   The amount of time served to date by Morgan docs not adequateh acx-ounl for the seriousness of his offense;
                   the Court concluded as much when it sentenced him to a prison term totaling 120 months. On the oiher hand,
                   although Morgan has a criminal history, including prior felony narcotics convictions, it is all in the distant
13
                   past: !ii.s last felony conviction was in 1992. nearly ihiily years ago. WIten the Court sentenced Morgan in this
                   case, it was bound by the mandatory minimum .sentences prescribed by law'
14                           •    '"Requiring hi.n to be subjected to this severe risk for an extended period— given the length of
                                  lime the coronav irus pandemic is likely to persist—docs not. in the Court's view, amount to
15                                just punishment, nor docs it promote ro.specl for tlje law."

16   United Slates v. Foster, 2020 WL 5876941. at * 1 (D. Or. Oct. 2,2020)                                                              ^
               •   36 months, stancti .lunc 2019. ha.s .served I year
17
               •   FCi Dublin
               •   36 years old. asthma, liistory of smoking and rnctli. receiil upper respiratory infections
18
                            • U.scd expert Dr. Cluibbtick
                            • Notes there is testing FCI [Dublin has not provided, which is needed
19
                            • Has symptoms of heart failure and FCI Dublin is failing to test her

20

21   United Stales v. Ten'aciano. 2020 WL 5878284. at *1 (E.D. Cai. Oct. 2. 2020)
22             •   40 months for bribery as DMV employee, projected release is I9cccinher 2022.""has completed about 20
                   percent of her sentence of incarceration)
               •   Filed a few monihs after beginning sentence
23
               ®   llepalilis C. obesc/overw eight (in between), hypertension, histcvy of smoking
               •   IX'i Viciorvilie. "she lives in a large cell with more than 90 olher inmates and must also work outside that
24
                   dormitory-... She and her 90-plus cellmates share the same toilets and showers atid line up together for I'ood
                   and medications: it is not possible to practice social distancing in thc.se condidons"
25             »   3553 - Terraciano has also proposed a release plan that will allow ilic gov ernment to supervise and monitor
                   her that w ill reduce the risk .she again finds herself in the .sort of dire flnanciai siiaits that appear to have
26                 motivated her otTcnsc and that will reduce the risk oi" infccTion to her and to others.
                            •      Will live with sister and quarantine
27

28
              Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 9 of 14




 1    United States v. Body. 2020 WL 2745972. at *2(N.D. 111. May 27. 2020)
                                                                                                                                       1
                •    "Even though the Conn alrcad\ look Body's medical c(>iKlilioii inio account and gave him a signitlcant break
 2
                     on his sentence, matters have cltanged significantly,"
                •    ■"The Court can say. unequivocally, lliai the amount of time served to dale by Body does not adequately
 3                   account for the seriousness of his offense. He is essentially a lifelong, unrepentant drug dealer"
                 •   Tcrre Haute
 4               •   Diabetes, tiachcostomy. caneer. gout, severe arthritis, high cholesterol
                 •   Sentenced to 42-month sentence, reported in January 2020. released after 4 months
 5
      United States v. Swanson, 2020 WL 5549142. at *1 (D. Idaho Sept. 16. 2020)                                                       ^
 6
                 •   Swanson is 63 years old. Swanson has COPD. thickening of the pleura (lung lining), obstructive sleep apnea
 7                   among other medical conditions
                 •   50 months in pri.son on 2ffl9
 8               •   Self-repoited in .August 2019. FCI Sheridan


 9
      United States v. Fowler. 2020 WL 3034714. at *1 (N.D. Cal. June 6, 2020)
                                                                                                                                       I
                •    granting rclea.se for defendant who had served 11 months of the 60 month .sentence since her ehronic asthma
10                   constituted an "extraordinary and compelling" reason

11    United States v. Liggins. 2020 WL 4904070. at *2 (D. Neb. Aug. 20, 2020)                                                         ^
                •    Dcl'en.dant served nearly 8'/',? years t)!"a 1.31-monlh sentence
12
                •    Hypertension, obes'ty

13
      United States v. Brannan, 2020 WL 1698392. at *1 (S.D. Tex. Apr. 2, 2020)                                                        ^
14              •    Releiuse of defendant who had only staved 9 months ofa 36-monlh sentence for fraud, based on
                     ■'c.vir.-ordiniiiy and compelling circumstances."
15
      United States v. Young. 2020 WL 2614745. at *2 (W.D. Wash. May 22. 2020)                                                         ^
16
                ®    "Cx>nl"fonted \\ ilh the apparently cantliciiiig e\ iJciiee. the Court credits Young's representation, which is
                     ba.sed on direct knowledge rather than failure to eonfinn the existence ofa fi ling from over a month ago,"
17                   fi nds exhaustion met


18                   Despite best efforts. 7()'}o tested positive at l.ompoc
                     64 years oici, hypertension and ehronic kidney di.secise. African American
19                   l.ong battle with addiction
                     ()l)-monih heroin sentence, had only served 15 months
20                   Granted despite "the majority of the factors weigh against compassionate release"


21
      United States v. Vazquez Torres. 2020 WL 4019038. at 'M (S.D. Fla. July 14, 2020)
22                   XovciTibcr 2021 projected release, f' I'l' Oklahoma City
                     Diabetes, iiyperlension. asthmatic symptoms, osteoarthritis
23                   Renewed motion
                     I'esleJ positive
24                   While there is I'o donbt that Defendant's conviction ua.s serious, the Court leeogni'.'e-s thai he had no prior
                     criminal convictions, which suggc.sis that Defendant docs not pose a high ri.sk v)f committing further crimes.
25'                  Morccivcr. releasing Dctcndani to strict home ct)nllnemeiu allows him to continue to repay his debt to
                     society, imposes an adequate punishrnem. and proniutcs respect for the rule ol'law. wiiilc simtiltaneousiy
                     allowing him to seek medical care and Iretitincnt by providers who tire familiar wjiii Ins incdietil issues and
26                   equipped to treat him
                     Orilv served 5 nionihs ol'24 Tionths
27

28
            Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 10 of 14




 1               •   "The (aci that Defendant has sened less Ihaii tlve months of his sentence is not dispositive, given
                     Defendant's current health ittsues and the obstacles he faces in receiving adequate and complete treatment
                     while incarcerated"
 2

 3
     United States v. Delgado, 2020 WL 2464685, at *2(D. Conn., April 30, 2020)
                 •   Citing ''majority of district courts" (Inding that courts can independently define "extraordinary' and
 4                   compelling reasons."

                 •   Defendant only 29 months into 120-month .sentence
 5
                 •   Obesity and sleep apnca. extensive discussion ofobesity
                 •   Released into home confinement
 6

     United States v. Echevarria, 2020 WL 2113604. at *3(D. Conn., May 4, 2020)
 7                                                                                                                                    I
                 •   Defendant had asthma. 9 months into 48-manih sentence
 8
                 •   Despite "substantial criminal record"
                 •   "Strong pretrial adjustment" and "substantial rehabilitative efforts" prior to imposition of the sentence
 9

     United States v. Barber. 2020 WL 2404679. at M {D Ore. May 12. 2020)
10                                                                                                                                    I
                 •   Drug offense, 60 months starting in August 20)9
11
                 •   Served 8.5 months, ai Lonipoc, projected release date i.s January 2024
                 •   Regarding IB!. 13. courts are "not constrained by the BOP's determination." notes "a majority of federal
12
                     districl courts''
                 •   Hypertension, obesity, diabetes
13
                 •   Hospital Care l.'nit at Lompoc not a sufficient measure
                 •   Government concedes "if an inmate has a chronic medical condition that has been identified by the CDC as
14           I       elevating the inmate's risk of becoming seriously ill from COVID-19 lhal condition may satisfy the standard
                     of "cxtraordinaiy and compelling reasons'
15               •   Was sentenced above the Guidelines due to mandatory minimum of 5 years
                 •   Rejects 14-day request, orders immediate release and cites other courts that have immediately released
16                   inmates
                 •   lias tested positive for COVID-19
17
     United States v. Locke,2020 WL 3101016, at M (W.D. Wash,.lune 11, 2020)                                                          ^
18
                 •   Defendant at KDC Sea-Tac, severe obesity, chronic kiditey disease, diabetes, severe obstructive sleep apnea,

19
                     shortness of breath, and recurrent chest pain                                                                    ^
                               •     Had been in diabetic coma at one point
20               •   62-month sentence, has only served 6 months, scheduled release is Mav 2024


21

     United States v. Cornelio, 2020 WX 6021466, at *1 (D. llaw. Oct. 12, 2020)
22
                 •   32 months into his l-^5-momh sentence
23
                 •   Dbcsity. type 2 diabetes, diabetic polyncuropathy. high cholesterol, breathing problems, high risk of
                     cardiovascular disease
24
                 •   FC) Big Spring
                 •   However. Defendani i> correct that Ihe prevalence of COVID-19 ai his thcilily and the risk that it preserhs to
25                   him personally .ilicrs the punishment analysis

26

27

28                                                               10
             Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 11 of 14




 1   a.      Excessive Sentence

 2           Mr. Garcia's life sentence, for a non-violent drug trafficking offense is excessive and if

 3   sentenced today would be lower.

 4           Mr. Garcia understands the importance of finality in criminal proceedings. Even so, Mr

 5   Garcia argues that justice has a role, too. The fact Mr. Garcia received life sentence, for a non

 6   violent drug crime is "extraordinary" in itself. § 3582(c)(l)(A)(i). Mr. Garcia's life sentence is

 7   indeed more severe than would be applicable to him were he sentenced today with the First Step

 8   Act amendments in place.

 9          Here, retroactivity for sentencing calculations generally are the Legislature's province.

10   But Congress already demonstrated how factors thai cannot be an "extraordinary and compelling

11   reason" alone can still be considered with other factors. See § 994(t). And if this is so. it is hard

12   to argue that the unfairness of keeping a man in prison for decades more than if he had

13   committed the same crime today is anything other than compelling. This is especially so whep

14   Defendant almost certainly would have completed his term of imprisonment by now if sentenced

15   under modern law. Mr. Garcia argues that he thus presents an "extraordinary and compelling

16   reason []'" for a sentence reduction under § 3582(c)(l)(A)(i).

17

18   b.     Rehabilitation

19          Mr. Garcia has served over 18 years incarcerated and submits that during all these years

20   in prison constitutes another extraordinary and compelling reason for release. Petitioner Garcia

21   is no longer the same person whom this Court sentenced many years ago.

22          Petitioner Garcia argues that his substantial reh.abilita(!on during his over 18 years in

23   prison constitutes another extraordinaiy and compelling reason for release. "Rehabilitation of the

24   defendant, alone shall not be considered" sufficiently extraordinary and compelling to justify

25   compassionate release. § 994(t) (emphasis added). Yet a ".statute should be construed so that

26   effect is given to all its provisions." Corley v. United States, 556 U.S. 303, 314 (2009)(quoting

27   Hibbs w Winn, 542 U.S. 88, 101 (2004)). This means that for the vvord "alone" to do any work—
                                                      11
28
            Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 12 of 14




 1   as it must—the statute allows courts to consider rehabilitation as pan of a compassionate release

 2   motion. Thus, several courts have found a defendant's rehabilitation to be part of the

 3   extraordinary and compelling reasons favoring release. E.g., Brown, 457 F. Supp. 3d at 701;

 4   United States v. Chan, No. 96-CR-00094-JSW-13, 2020 WL 1527895, at *6(N.D. Gal. Mar. 31,

 5   2020). Here, Mr. Garcia in his initial pleading provided ample evidence that he is no longer the

 6   same person whom this Court sentenced years ago. In all these years, Mr. Garcia has been such a

 7   model inmate, in fact, he was transferred to a lower custody facility located in Safford, AZ

 8   Meanwhile, Mr. Garcia completed numerous programs, and has worked throughout his

 9   incarceration, and completed numerous education programs. ECF No. 522-1 at 7-8. Mr. Garcia's

10   concerted efforts to grow as a person despite the hardships of incarceration weigh strongly in

11   favor of compassionate release.

12

13       B. Section 3553(a) Factors Under § 3582(c)(1)(A)

14          Mr. Garcia has demonstrated significant rehabilitation and can no longer benefit from

15   "educational or vocational training, medical care, or other correctional treatment," provided by

16   the BOP. See § 3553(a)(2)(D). Further, Mr. Garcia's criminal history demonstrates he is not a

17   recidivism risk or a significant danger to the public. Id. at (a)(2)(B), (C). The honorable Court

18   should not excuse Mr. Garcia's behavior but consider by "simply suggesting that [he is a] human

19   being[]," with flaws, virtues, and a need for empathy. Richard S. Arnold, Remarks Before the

20   Judicial Conference of the Eighth Circuit: The Art of Judging (Aug. 8, 2002). Mr. Garcia argues

21   that the "need for the sentence imposed" also appears weaker given the extremely high risk to

22   Mr. Garcia should he contract COVlD-19. § 3553(a)(2). Although in normal times extended

23   incarceration might be appropriate, normal times these are not. Given the risks to Vlr. Garcia

24   should he contract COVlD-19. Mr. Garcia argues that his term of incarceration is sufficient to

25   retlcct (he seriousness of the offense, afford adequate deterrence, and provided Mr. Garcia with

26   educational and vocational training. See § 3553(a)(2)(A).(B),(D). Mr. Garcia avers that there is

27   no need "to protect the public from further crimes of the defendant." § 3553(a)(2)(C). However

28                                                  12
            Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 13 of 14




 1   incarceration is not the only "kind[] of sentence available." and there are other ways to achieve

 2   the same public protection. § 3553(a)(3). Further, Mr. Garcia will most likely be deported upon

 3   release, which is itself a punishment. Padilla v. Kentucky, 559 U.S. 356, 364 ("[D]eportation is

 4   an integral part—indeed, sometimes the most important part—of the penalty that may be

 5   imposed on noncitizen defendants . . . ." (footnote omitted)). Any lingering public safety

 6   concerns are mooted by the fact of Mr. Garcia's impending deportation.

 7

 8   C.     Petitioner Gareia's Release Plan

 9          In his Motion for Sentence Reduction under 18 U.S.C. Section 3582(c)(l)(A'

10   (Compassionate Release), Mr. Garcia has provided information outlining his release plan, any

11   additional information is available upon request or with the appointment of counsel. However

12   Mr. Garcia will most likely be deported upon release, which is itself a punishment. Padilla v

13   Kentucky, 559 U.S. 356, 364 ('"[Djeportation is an integral part—indeed, sometimes the most

14   important part—of the penalty that may be imposed on noncitizen defendants . . . ." (footnote

15   omitted)). Any lingering public safety concerns are mooted by the fact of Mr. Garcia'

16   impending deportation.

17                                              CONCLUSION

18                 WHEREFORE,Petitioner Garcia respectfully prays this honorable Court Grant

19          Petitioner Garcia Motion for Reconsideration of the Denial of his Motion for

20          Compassionate Release and .Appointment of Counsel.

21   Dated this May 6, 2022.

22

23                                        Sign Name

24                                                    Heriberto Garcia-Rodriguez
                                                      Reg. No. 07859-091
25                                                    United States Penitentiary
                                                      USP LEE
26
                                                      P.O. Box 305
27                                                    Jonesville, VA 24263

oc                                                  13
             Case 2:03-cr-00061-SWS Document 146 Filed 05/13/22 Page 14 of 14




 1                                     CERTIFICATE OF SERVICE

 2

 3   I, Heriberto Garcia, hereby certify that 1 have served a true and correct copy of:

 4

          iMOTIGN FOR RECONSIDERATION: DENIAL OF PETITIONER GARCIA'S
 5
      MOTION FOR COMPASSIONATE RELEASE AND REQUEST FOR APPOINTMENT
 6                                            OF COUNSEL

 7   [which is considered filed/served at the moment it was delivered to prison authorities for mailing
 8   as provided for in Houston v. Lack,487 U.S. 266, 101

 9
     complete copy of the above-described materials in a sealed envelope affixed with the appropriate
     pre-paid first-class United States postage:
10

11
     US District Court
12   District of Wyoming
     11 1 SWolcott St StelOl
13   Casper. WY 82601
14
     and deposited same with prison officials here at:
15

16   United States Penitentiary
     USP LEE
17   P.O. Box 305
     Jonesville, VA 24263
18

19   Pursuant to Title 28 U.S.C. Section 1746.1 declare under penally of perjury that the foregoing is
20   true and correct.

21

22   Dated and executed this d'*" day of May 2022.

23

                                                            Heriberto Garcia-Rodriguez
24
                                                            Reg. No. 07859-091
25                                                          United States Penitentiary
                                                            USP LEE
26                                                         P.O. Box 305
                                                           Jonesville, VA 24263
27

                                                     14
28
